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               EXHIBIT 10
Suleveâ"¢ M3AR2 M3 Aluminum Alloy Standoff Studs 8-35mm Black Round PCB Board Spacers ...                                                                                             Page 1 of 5
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                                       aluminum spacer for pcb board

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                                                                   ChisuNeviette                                                                                 Share
                                                                   Suleveâ„¢ M3AR2 M3 Aluminum Alloy
                                                                   Standoff Studs 8-35mm Black Round                                                              See All Buying Options

                                                                   PCB Board Spacers Standoffs 10pcs
                                                                   (10mm) by ChisuNeviette                                                                  Add to List
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                                                                   Size: 10

                                                                       8       10        15          20        25        30        35
                    Click to open expanded view
                                                                    • Description: 10pcs M3 Round Aluminum Alloy Long Nut
                                                                      Studs Standoffs Fastener 8/10/15/20/25/30/35mm
                                                                    • Specifications: Model: M3 Material: Aluminum alloy Color:
                                                                      Black Length:8/10/15/20/25/30/35mm Outer Diameter:
                                                                      5mm Quantity: 10pcs
                                                                    • Feature: 1. M3 round aluminum alloy standoffs long nut 2.
                                                                      Made from anodized aluminum alloy with CNC maching,
                                                                      clear thread, uniform, no burr 3. Light weight fit for DIY
                                                                      model fixing and connecting
                                                                    • Note: The item also has the red one: Product ID: 1014732
                                                                    • Package included: 10X M3 Aluminum Alloy Standoffs
                                                                    › See more product details

                                                                   New (1) from $11.99 & FREE shipping.

                                                                       Report incorrect product information.




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           CNBTR 10x6x4mm 20                   HVAZI 320pcs M2.5 Nylon          HVAZI 280PCS M2.5                     HVAZI 240pcs M2.5 Nylon             Screws Nut Assortment -
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                            2                  $13.99                                            1                                                                           1
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Suleveâ"¢ M3AR2 M3 Aluminum Alloy Standoff Studs 8-35mm Black Round PCB Board Spacers ...                                                        Page 2 of 5
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                                                                                             Feamos 160Pcs M3 Nylon
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                                                                                             Stand off Set New
                                                                                             $6.24


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             Spacers Stand-off Plastic   Spacer Standoff Screw      Socket Head Cap Screws   Screws Nut Standoffs       Standoff Screw Nut             S
             Accessories…                Nut Assortment Kit         Nuts Assortment Kit…     Spacers for DIY…           Assortment Kit                 A
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 Product description
     Size:10

          Description:

          10pcs M3 Round Aluminum Alloy Long Nut Studs Standoffs Fastener 8/10/15/20/25/30/35mm

          Specifications:
          Model: M3



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                                                                                          6
      Material: Aluminum alloy
       Color: Black
       Length:8/10/15/20/25/30/35mm
       Outer Diameter: 5mm
       Quantity: 10pcs

       Feature:
       1. M3 round aluminum alloy standoffs long nut
       2. Made from anodized aluminum alloy with CNC maching, clear thread, uniform, no burr
       3. Light weight fit for DIY model fixing and connecting

       Note: The item also has the red one: Product ID: 1014732

       Package included:
       10X M3 Aluminum Alloy Standoffs




 Product information
 Size:10

 Technical Details                                                                  Additional Information

      Part Number                         617377558623                                 ASIN                                    B06XWTPXJT

      Size                                10                                           Customer Reviews                        Be the first to review this item
                                                                                                                               0.0 out of 5 stars
      Finish                              Black
                                                                                       Date First Available                    March 29, 2017
      Measurement System                  Metric
                                                                                    Warranty & Support
      Batteries Included?                 No

      Batteries Required?                 No                                        Product Warranty: For warranty information about this product, please click
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           Stainless Steel Hex        Round Aluminum Alloy         Nylon Hex Nuts Screws         Round Aluminum Alloy          Hexagon Red Aluminum               S
           Socket Head Cap Screws     Standoff Spacer Studs        Spacers Stand-off Plastic     Standoff Spacer Studs         Alloy Standoff Spacer              F
           Nuts Assortment Kit…       Fastener 8/10/15/20/22…      Accessories…                  Fastener 8/10/15/20/22…       Studs Fastener, 10…                I
                        49            $6.69                                      174             $8.29                         $9.99                              $
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